                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


SCARLETT PAVLOVICH,

                        Plaintiff,

v.                                                        Case No. 25-CV-00078-jdp

NEIL GAIMAN and
AMANDA PALMER,

                        Defendants.


     DEFENDANT NEIL GAIMAN’S BRIEF IN SUPPORT OF MOTION TO DISMISS


                Defendant Neil Gaiman (“Defendant” or “Gaiman”) by and through his

attorneys, Kravit, Hovel & Krawczyk, s.c. and Berk Brettler LLP, submits this Brief

in Support of his Motion to Dismiss the Complaint against him filed by Plaintiff

Scarlett Pavlovich a.k.a. Scarlet Wynter, a.k.a. Molly Pavlovich (“Plaintiff” or

“Pavlovich”).

                       INTRODUCTION & RELEVANT BACKGROUND 1

                Plaintiff’s claims are a sham. Her lawsuits against Gaiman and his wife,

Amanda Palmer (“Palmer”), one filed here and two with nearly identical allegations

in federal courts in Massachusetts and New York, appear to be strike suits–the



1 Normally matters outside the Complaint are not considered on motions to dismiss. There are
exceptions applicable here. Plaintiff makes scandalous allegations that can be stricken, Fed. R. Civ. P.
12(f), and important facts can be considered for illustrative purposes. See, e.g., Geinosky v. City of Chi.,
675 F.3d 743, 745 n.1 (7th Cir. 2012). Such facts discussed here are supported by the declaration of
Gaiman, filed herewith and incorporated herein. Facts outside the Complaint are also appropriate to
consider on Gaiman’s motion to dismiss for forum non conveniens. Forum Non Conveniens—In
General, 14D Fed. Prac. & Proc. Juris. § 3828 (4th ed.). See also n. 7, infra.
culmination of her plan to maximize adverse publicity against Gaiman, a well-known

author. 2

                To begin, all the facts set forth in the 365 paragraph Complaint took

place in the country of New Zealand, where Plaintiff is a citizen and Gaiman has

permanent residency. 3 Plaintiff, an adult and former friend of Palmer’s, who

previously house-sat for Palmer in New Zealand, began babysitting Gaiman and

Palmer’s son, at Palmer’s request, in early 2022. Plaintiff and Gaiman began a brief

personal relationship, which involved consensual physical intimacy, not sexual

intercourse. Gaiman did not engage in the outrageous and tortious conduct Pavlovich

alleges in her Complaint or in her myriad media interviews. In no uncertain terms,

Pavlovich’s accusations are false. The sexual scenarios she describes deliberately in

graphic detail are invented. Any sexual conduct that occurred was in all ways

consensual. Law enforcement authorities in New Zealand thoroughly investigated

the same claims Plaintiff makes here, found no merit, and declined to file any charges

against Gaiman. There was no credible evidence of wrongdoing.

                No matter what Plaintiff says happened, it all happened in New Zealand

between a New Zealand citizen and a New Zealand permanent resident. There is no



2 The Court may take judicial notice that Plaintiff sought extra judicial publicity for her alleged claims

before filing them in court, including by participating in an article for New York Magazine
(https://nymag.com/press/article/on-the-cover-the-side-of-neil-gaiman-his-fans-never-saw.html),
UnHerd (https://unherd.com/2024/09/bad-omens-for-neil-gaiman/), and the Tortoise podcast series
(https://www.tortoisemedia.com/listen/master-the-allegations-against-neil-gaiman).             Plaintiff’s
coordination of press coverage with this and multiple federal court filings makes this case a strike suit,
meant to publicly punish Gaiman’s reputation as an author and creator, and force a non-deserved
settlement.

3 The summary facts that follow are from the Gaiman declaration, attached hereto and made a part

hereof.

                                                    2
legal authority to adjudicate her lawsuit in federal court in Wisconsin, or in other

federal courts around the United States. 4 Pavlovich’s claims are false, but there is no

dispute that all of the conduct alleged in the Complaint occurred in New Zealand,

the proper forum, if any, for this lawsuit.

               Gaiman has contemporaneous written correspondence (WhatsApp

messages) he exchanged with Plaintiff. Those messages tell a very different story

than the one Plaintiff pleads in this Complaint. 5 The parties’ correspondence reflects

not only that Gaiman’s alleged conduct was consensual, but also on many occasions,

it was initiated and/or encouraged by Plaintiff herself. At no point in any of Plaintiff’s

messages to Gaiman did she ever accuse him of misconduct. Any suggestion that

Gaiman raped or otherwise engaged in violent or non-consensual activity with

Plaintiff, at any time, is false and defamatory.

               In early February 2022, while living in New Zealand, Palmer hired

Plaintiff to babysit her and Gaiman’s son. Gaiman Decl. ¶ 5. On February 4, 2022,

Plaintiff and Gaiman shared a meal together in the garden outside of Gaiman’s home

on Waiheke Island, New Zealand. Id. ¶ 6. In the garden, there was an outdoor bathtub

with a hot water hose attached. Id at ¶ 7. After eating, Gaiman invited Plaintiff to

take a bath with him. Id. He was clear that the invitation was to take a bath with



4 This Court should take judicial notice that the same or similar complaint has been filed by Plaintiff

against defendant Palmer in federal courts in New York and Massachusetts. See Pavlovich v. Palmer,
No. 25-cv-00969 (S.D.N.Y. filed Feb. 3, 2025); Pavlovich v. Palmer, No. 25-CV-10263F (D. Mass. filed
Feb. 3, 2025).

5  See Declaration of Neil Gaiman, dated March __, 2025, and the exhibits attached thereto,
incorporated herein by reference. Exhibits A and B to the Gaiman declaration are a true and correct
copies of the correspondence exchanged between Gaiman and Pavlovich.

                                                  3
him, and it was entirely open for Plaintiff to decline the invitation. Id. She accepted.

Id. Gaiman and Pavlovich had a lengthy conversation about consent, during which

Pavlovich disclosed that she preferred older partners and was open to a sexual

relationship with Gaiman. Id.      Thereafter, Gaiman and Plaintiff removed their

clothes before getting in the bath. Id. Gaiman and Plaintiff cuddled and “made out”

in the bath before engaging in further sexual activity—although not sexual

intercourse of any kind—when they returned to the house. Id. At no point during the

evening did Plaintiff say or do anything that gave Gaiman any indication that she

was not willingly participating in these activities. Id.

             Plaintiff’s text messages to Gaiman the following morning, February 5,

2022, demonstrate as much: “Thank you for a lovely lovely night ~ wow x”.




Id. ¶ 9, Ex. A at 2. In the messages she sent him over the next two days, it was

Plaintiff who wanted to bathe with Gaiman again: “Do you feel like a rain bath :) . . .

Let me know if you want me to run a bath. I am consumed by thoughts of you . . . . I

hope tomorrow, or some other time soon [heart on fire emoji]”




                                           4
Id., Ex. A at 3.

              Then on February 9, 2022, Plaintiff messaged Gaiman to ask whether

she could spend the night with him at his home: “If you happen to be alone later

tomorrow night and are struck by an adventurous impetus, maybe I could come for a

visit and then vanish in the morning for work like an apparition . . . . I’m at your

service. You’ve made me a bit of a greedy girl : )




Id. at 4.

              More than a month later, Gaiman confronted Plaintiff about rumors

that he heard from Palmer regarding Plaintiff’s purported allegation of sexual

assault. On March 24, 2022, Gaiman texted Plaintiff to express his disbelief and

devastation over her allegation. Within minutes, Plaintiff responded, “Oh my God.

Neil! I never said that . . . . Rape? WHAT? This is the first I have heard of this. Wow.

I need a moment to digest your message.”




Id. at 13.

                                            5
             Two days later, on March 26, 2022, Plaintiff again said that the sexual

assault claim was “absolutely not true” and that the intimate contact she had with

Gaiman was “consensual (and wonderful)!” She expressed her frustration and anger

towards the person or persons she blamed for the rumors getting “out of control,”

Plaintiff emphatically concluded, “It was consensual – how many times do I have to

fucking tell everyone.”




Id. at 16.

             Much later, Plaintiff apparently reported this activity to law

enforcement authorities in New Zealand. Gaiman Decl. ¶ 13. Her allegations were

thoroughly investigated by New Zealand police, and, based on her own statements in

the above quoted messages to Gaiman as noted above, no charges were brought. Id.

In early April 2024, the New Zealand police closed the investigation. Id.

             After participating in a multi-part podcast in which she discussed her

allegations against Gaiman in lurid detail, Plaintiff filed this Complaint alleging

common law claims against Gaiman and his wife for assault, battery, intentional

infliction of emotional distress, negligent infliction of emotional distress, and

violations of 18 U.S.C. §§ 1589, 1590(a), 1591, and 1594. The lengthy, scattershot




                                          6
complaint (365 paragraphs!) describes alleged conduct that occurred, if at all, entirely

within the country of New Zealand, and therefore in that jurisdiction. 6

                This Complaint must be dismissed because: (1) under the doctrine of

forum non conveniens, New Zealand is the most appropriate forum to adjudicate these

alleged claims; (2) the Complaint fails to state a claim because the civil remedy

provision of the Trafficking Victims Protection Act (the “TVPA”), 18 U.S.C. § 1595,

does not have extraterritorial effect; (3) the Plaintiff has not exhausted New Zealand’s

available remedies prior to bringing a lawsuit in the United States; and (4)

international comity principles require dismissal here. When the federal statutory

claims are dismissed, the common law tort claims must also be dismissed for lack of

supplemental jurisdiction.

                The Complaint and the Gaiman declaration filed herewith and

incorporated herein, 7 demonstrate that the vast majority of non-party witnesses and

evidence are in New Zealand—8,296 miles away from the Western District of

Wisconsin. Gaiman Decl. ¶ 10. The exhibits to the Gaiman declaration include several


6 Plaintiff’s bizarre pleading style does not “promote clarity” and violates Rule 10(b) of the Federal

Rules of Civil Procedure. See also Fed. R. Civ. P. 8(a)(2) (requiring Plaintiff to provide “a short and
plain statement of the claim showing that the pleader is entitled to relief”; Stanard v. Nygren, 658
F.3d 792, 798 (7th Cir. 2011) (holding dismissal is an appropriate remedy for complaints that do not
satisfy federal pleading standards). It is obvious this Complaint is more of a press release than a short
and plain statement of purported claims. Givens v. City of Wichita, No. 23-cv-01033-HLT-TJJ, 2024
WL 1198503 at *4 (D. Kan. Mar. 20, 2024) (holding “[s]omething labeled a complaint but written more
as a press release, prolix in evidentiary detail, yet without simplicity, conciseness and clarity as to
whom plaintiffs are suing for what wrongs, fails to perform the essential functions of a complaint.”).

7 It is permissible to consider evidence outside the pleadings as it relates to whether the Western

District of Wisconsin is a forum non conveniens. Martinez v. Bloomberg LP, 740 F.3d 211, 216 (2d Cir.
2014). Likewise, a court can rely on outside documents that are integral to and relied upon in the
complaint and are authentic. Schmidt v. Kolas, 770 F. 3d 241, 249-50 (3d Cir. 2014). Finally, a court
may take judicial notice of matters of public record when deciding a motion to dismiss.
Lee v. City of L. A., 250 F.3d 668, 689 (9th Cir. 2001); Fed. R. Evid. 201.

                                                   7
material messages from Plaintiff in which she told numerous witnesses in New

Zealand that her relationship with Gaiman was consensual. For example:




Gaiman Decl. ¶ 9, Ex. A at 16.

And at another time:




Id., Ex. A. at 16.

              Allowing Plaintiff to bring her claims here in the Western District, based

on alleged misconduct that occurred entirely within New Zealand prejudices Gaiman,

among other ways, by limiting his access to witnesses and evidence, greatly

increasing the costs of this litigation, thus handicapping his defense. This ground for

dismissal is further argued at pages 10-23, infra.

              The TVPA claims must also be dismissed under Rule 12(b)(6) for failure

to state a claim. The claims rely on the TVPA’s civil remedy provision, 18 U.S.C.

§ 1595, to confer jurisdiction here for foreign conduct and foreign injuries. While

courts disagree whether the TVPA’s civil remedy has extraterritorial reach, the

application of the presumption against extraterritoriality and U.S. Supreme Court

case law lead to only one conclusion—§ 1595 does not contain the clear indication




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from Congress necessary to exercise extraterritorial jurisdiction. That ground for

dismissal is discussed at pages 23-33, infra.

               Another fatal flaw is that the Complaint fails to demonstrate that

Plaintiff has exhausted her remedies under New Zealand law prior to bringing this

suit in the United States. The Seventh Circuit requires that the prudential

exhaustion rule must be applied to transnational litigation. This Complaint simply

states that Plaintiff filed a police report, and the “police took no action.” Compl. ¶¶

248-53. The Complaint does not allege that the plaintiff brought a civil action against

Gaiman in New Zealand, which is an adequate and available remedy in that

jurisdiction. The exhaustion rule requiring dismissal here is argued at pages 33-36,

infra.

               Finally, international comity is a major factor in determining

jurisdiction to resolve foreign disputes. Comity also militates strongly in favor of

dismissing this Complaint. New Zealand has a strong interest in adjudicating this

case, and restraint must be exercised in deciding whether this Court should

adjudicate a case brought by a New Zealand citizen, against a New Zealand resident 8,

alleging conduct occurring entirely within New Zealand. New Zealand has

comprehensive laws governing the claims Plaintiff alleges, either through its criminal

human trafficking statutes (that provide for restitution), international anti-human

trafficking treaties New Zealand has ratified (i.e., the Palermo Accords), or through




8 Neil Gaiman is a permanent resident of New Zealand. Gaiman Decl. at ¶ 3.


                                                9
     its common law derived from the same English common law system that is the basis

     for common law in the USA. This factor is discussed at pages 36-37, infra.

                   If this Court dismisses the statutory claims, all claims brought under

     § 1367 should also be dismissed for lack of supplemental jurisdiction. 28 U.S.C.

     § 1367(c)(3) (“The district courts may decline to exercise supplemental jurisdiction

     over a claim . . . [if] the district court has dismissed all claims over which it has

     original jurisdiction.”).

                                         ARGUMENT

I.      THE DOCTRINE OF FORUM NON CONVENIENS DICTATES THAT THE UNITED
        STATES IS NOT THE PROPER FORUM FOR PLAINTIFF’S ALLEGATIONS.

                   Under the forum non conveniens doctrine, New Zealand is the proper

     forum for Plaintiff’s claims, not the Western District of Wisconsin. This case must be

     dismissed because: (1) this forum would impose an undue burden on Gaiman’s access

     to witnesses and evidence; (2) New Zealand has adequate and available remedies; (3)

     Plaintiff consented to jurisdiction in New Zealand and the application of New Zealand

     law; and (4) public interest factors overwhelmingly support dismissal in favor of a

     New Zealand forum. This case is brought by a New Zealand citizen, against a New

     Zealand resident, alleging conduct occurring entirely within the jurisdiction of New

     Zealand. If the case should be heard anywhere, it should be heard in the courts of

     New Zealand rather than in the Western District of Wisconsin.




                                              10
   A. Legal standard—forum non conveniens

             “Dismissal for forum non conveniens reflects a court’s assessment of a

range of considerations, most notably the convenience to the parties and the practical

difficulties that can attend the adjudication of a dispute in a certain locality.”

Sinochem Int’l Co. v. Malaysia Int’l Shipping Corp., 549 U.S. 422, 425, 127 S. Ct.

1184, 1188, 167 L. Ed. 2d 15 (2007) (internal quotation omitted). A federal court “need

not resolve whether it has authority to adjudicate the cause (subject-matter

jurisdiction) or personal jurisdiction over the defendant if it determines that, in any

event, a foreign tribunal is plainly the more suitable arbiter of the merits of the case.”

Id. Further, because Plaintiff chose to bring these claims in the United States rather

than in her home forum, any presumption in Plaintiff’s favor must carry less weight:

             “A defendant invoking forum non conveniens ordinarily bears a heavy
             burden in opposing the plaintiff’s chosen forum. When the plaintiff's choice
             is not its home forum, however, the presumption in the plaintiff's favor
             applies with less force, for the assumption that the chosen forum is
             appropriate is in such cases less reasonable.”


Id. (internal quotations omitted). Courts assessing motions to dismiss on forum non

conveniens grounds most often rely on parties’ affidavits rather than requiring

extensive discovery. § 3828 Forum Non Conveniens—In General, 14D Fed. Prac. &

Proc. Juris. § 3828 (4th ed.)

             The forum non conveniens analysis requires a balancing test based on

private and public interest factors. “Courts look to four private interest factors when

evaluating the viability of an alternative forum.” Instituto Mexicano del Seguro

Social v. Zimmer Biomet Holdings, Inc., 29 F.4th 351, 359 (7th Cir. 2022). These

include the “(1) relative ease of access to sources of proof; (2) availability of

                                                 11
compulsory process and costs for attendance of witnesses; (3) possibility of viewing

the premises, if appropriate; and (4) other practical issues, including the ease of

enforcement of any ultimate judgment.” Id. (internal quotations omitted). Courts

address the following public interest factors: (1) the administrative issues arising

from court congestion; (2) the local interest in having local disputes decided at home;

“(3) the avoidance of unnecessary problems in conflicts of laws or in the application

of foreign law; and (4) the unfairness of burdening citizens in an unrelated forum

with jury duty.” Id. at 360 (internal quotations omitted).

   B. The Complaint and Gaiman declaration show that the witnesses and
      evidence are concentrated in New Zealand.

             In the present case, the vast majority of witnesses and evidence

identified in either the Complaint or the declaration of Neil Gaiman are located in

New Zealand. For example, the exhibits to the Gaiman declaration include numerous

text messages where Plaintiff discusses telling other people that her relationship

with Neil was consensual:




E.g., Gaiman Decl. ¶ 9, Ex. A at 16. This text message demonstrates that a proper

defense of Plaintiff’s allegations would require discovery from several people located

on the island of Waiheke—a remote island located in New Zealand—whom Plaintiff

told her relationship with Mr. Gaiman was consensual.




                                          12
             The Complaint identifies numerous witnesses who reside in New

Zealand and alleges conduct that was observed or discussed, if at all, by witnesses

residing in New Zealand or elsewhere outside of the United States. For example, the

Complaint alleges actions that took place on the island of Waiheke, which is

accessible only “via a forty-minute ferry ride.” Compl. ¶ 26. According to the

Complaint, while on Waiheke, Gaiman left his child at a friend’s house while the first

alleged assault transpired. Id. ¶¶ 53-105. Further, the Complaint describes Plaintiff’s

vulnerability by alleging that “she had no other job,” Id. ¶ 203, “she had no other

residence,” Id. ¶ 202, “she had nowhere to go,” Id. ¶ 201, she “could not easily afford

transport off the island,” Id. ¶ 209, and various other claims that Plaintiff was

financially coerced by Gaiman. Id. ¶¶ 200-15. The Complaint also alleges that

Plaintiff filed a police report and that “the police took no action because Palmer

refused to talk to them.” Id. ¶ 253. Contesting these allegations will require testimony

from witnesses who reside well-outside of the Court’s jurisdiction.

             The Complaint demands relief “believed to be in excess of $1,000,000.00”

for each of seven separate causes of action. Id. ¶¶ 287, 295, 305, 312, 317, 346, and

364. These causes of action cite emotional and psychological damages, physical

impairment damages and PTSD, anxiety, depression, physical impairments of the

brain, and loss of career opportunities. Id. Further, the allegations are that Plaintiff

“was put in a psychiatric respite center to treat her suicidal ideation.” Id. ¶ 234. The

witnesses, treating professionals, records, and other evidence related to those alleged




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damages are all in the jurisdiction of New Zealand. The chart below details potential

witnesses identified in either the Complaint or in Mr. Gaiman’s declaration:

    EVIDENCE/           CITATION         LOCATION OF            ANTICIPATED
   WITNESSES                               WITNESS               TESTIMONY
 Guests at Amanda      Compl. ¶ 24      Waiheke Island,      Observed interactions
 Palmer’s home on                       New Zealand          between parties
 Waiheke Island
 Individuals           Compl. ¶¶ 30,    New Zealand          Plaintiff’s claims of
 familiar with         31, 33, 34, 35                        economic insecurity,
 Plaintiff                                                   mental disorders, and
                                                             character witnesses
 Ferry company         Compl. ¶¶ 26,    Waiheke Island       Verify presence of
 employees and         27, 41, 42       and Auckland, New    parties on Waiheke at
 records                                Zealand              specific dates/times
 Individuals who       Compl. ¶¶ 49,    Waiheke Island,      Dispute facts about
 watched Gaiman’s      53               New Zealand          Plaintiff’s allegations
 child                                                       of assault
 Hotel employees       Compl. ¶ 159     Auckland, New        Dispute Plaintiff’s
 and records                            Zealand              claims of hotel assault
 Plaintiff’s bank      Compl. ¶¶ 29,    New Zealand          Dispute claims
 records               113, 182, 204,                        Plaintiff was not paid
                       240, 245                              for nanny services
 Plaintiff’s friends   Compl. ¶ 238     New Zealand          Dispute assault
                                                             claims
 Police department     Compl.           New Zealand          Dispute claims of
 employees and         ¶¶ 248, 253                           assault
 records
 Medical records       Compl.           New Zealand          Dispute damages
 and treatment         ¶¶ 234, 255                           claim
 professionals
 M.A.                  Gaiman Decl.     New Zealand          Friend of Plaintiff
                       ¶ 10(a)                               who perpetuated the
                                                             false claims
 R.C.                  Gaiman Decl.     New Zealand          Gaiman’s assistant
                       ¶ 10(b)                               during the relevant
                                                             time period, who has
                                                             information about
                                                             Plaintiff’s false
                                                             allegations
 H.H.                  Gaiman Decl.     Waiheke Island,      Neighbor on Waiheke
                       ¶ 10(c)          New Zealand          who can dispute
                                                             Plaintiff’s false claims

                                         14
  EVIDENCE/    CITATION       LOCATION OF        ANTICIPATED
  WITNESSES                     WITNESS            TESTIMONY
E.A.          Gaiman Decl.   Waiheke Island,   Neighbor on Waiheke
              ¶ 10(d)        New Zealand       who can dispute
                                               Plaintiff’s false claims

S.E.B.        Gaiman Decl.   New Zealand       Realtor who can
              ¶ 10(e)                          testify about the
                                               property referenced in
                                               the complaint
X.O.          Gaiman Decl.   Melbourne,        Personal assistant
              ¶ 10(f)        Australia         who can dispute
                                               plaintiff’s false claims
E.B.          Gaiman Decl.   New Zealand       Personal assistant
              ¶ 10(g)                          who can dispute
                                               Plaintiff’s false claims
V.S.          Gaiman Decl.   New Zealand       Son’s nanny during
              ¶ 10(h)                          the relevant time who
                                               can dispute plaintiff’s
                                               false claims
L.B.          Gaiman Decl.   New Zealand       Housekeeper who can
              ¶ 10(i)                          dispute plaintiff’s
                                               false claims
D.C.          Gaiman Decl.   New Zealand       Friend of Plaintiff
              ¶ 10(j)                          whose mother was
                                               Plaintiff’s landlord
                                               and can dispute
                                               Plaintiff’s false claims
K.            Gaiman Decl.   New Zealand       M.A. partner, who
              ¶ 10(k)                          allegedly spoke with
                                               Pavlovich and M.A.
                                               about Gaiman
P.B.G.        Gaiman Decl.   New Zealand       M.A. friend and
              ¶10(l)                           purported expert, who
                                               allegedly spoke with
                                               Pavlovich and M.A.
                                               about Gaiman
E.S.          Gaiman Decl.   New Zealand       M.A. friend, who
              ¶ 10(m)                          allegedly spoke with
                                               Pavlovich and M.A.
                                               about Gaiman




                              15
     C. The expense and lack of compulsory processes in New Zealand to obtain
        discovery prevent an adequate and fair defense to the allegations.

               Conducting the requisite discovery in this case will be severely burdened

if litigation occurs outside of New Zealand. As most of the material witnesses reside

in New Zealand and are presumed to be foreign nationals, subpoena power under the

Federal Rules of Civil Procedure will be inapplicable. See Fed. R. Civ. P. 45(b)(3) and

28 U.S.C. § 1783 (granting extraterritorial subpoena power only for nationals and

residents of the United States). Further, New Zealand is not a party to the Hague

Convention on the Taking of Evidence Abroad in Civil or Commercial Matters. 9

               Because neither the Federal Rules of Civil Procedure nor the Hague

Convention can be used to compel discovery in New Zealand, Defendant will be forced

to use New Zealand’s domestic laws to obtain testimony and the production of

documents necessary to his defense. A review of the relevant New Zealand statutes

demonstrates that the available procedures will not allow process to compel the type

of discovery essential to litigation in the United States.

               Discovery in New Zealand is governed by New Zealand’s Evidence Act

of 2006—Sections 184-87. Section 186 specifically provides: “A person may not be

compelled by an order . . . to give any evidence that the person could not be compelled

to give . . . in civil proceedings in New Zealand.” Evidence Act, 2006 § 186 (NZ). 10

According to the U.S. State Department website, compulsory depositions are not


9 See  list of signatories: https://www.hcch.net/en/instruments/conventions/status-table/?cid=82 (last
visited February 18, 2025).

10 https://www.legislation.govt.nz/act/public/2006/0069/latest/whole.html#DLM394297 (last visited
February 18, 2025).


                                                 16
permitted in New Zealand: “Voluntary depositions may be conducted in New Zealand

regardless of the nationality of the witness, provided no compulsion is used.” 11

Further, the possibility of discovery is not guaranteed as it will only be granted at the

discretion of New Zealand’s High Court. Evidence Act, 2006 § 184 (NZ).

                Because of these discovery limitations, Defendant would be forced to use

multiple U.S. and international lawyers to navigate a foreign system of discovery

outside the typical international conventions. Not only would this incur major

expense, but discovery could be severely curtailed due to New Zealand’s lack of a

compulsory process for discovery tools such as depositions. Adhering to foreign

discovery laws would lengthen the discovery process and limit this Court’s power to

resolve discovery disputes. The expenses of travel will present yet another large

financial burden to Gaiman’s defense. New Zealand is an adequate and available

forum for the remedies sought.

                Only in “rare circumstances, where the remedy offered by the other

forum is clearly unsatisfactory, the other forum may not be an adequate alternative.”

§ 1:827. 1A Fed. Proc., L. Ed. § 1:827 (citing Aenergy, S.A. v. Rep. of Angol., 31 F.4th

119 (2d Cir. 2022), cert. denied, 143 S. Ct. 576, 214 L. Ed. 2d 341 (2023)). 12 The

Supreme Court and the Seventh Circuit have held that an “alternative forum is

inadequate only where ‘the remedy provided’ is ‘so clearly inadequate or


11 https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-

Information/NewZealand0.html (last visited February 18, 2025).

12 See also Carijano v. Occidental Petrol. Corp., 643 F.3d 1216 (9th Cir. 2011); Lodakis v. Oceanic

Petrol. S.S.Co., 223 F. Supp. 771 (E.D. Pa. 1963); Flota Maritima Browning De Cuba, Sociadad
Anonima v. Ciudad De La Habana, 181 F. Supp. 301 (D. Md. 1960).


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unsatisfactory that it is no remedy at all.’” Inst. Mex., 29 F.4th at 358 (quoting Piper

Aircraft Co. v. Reyno, 454 U.S. 235, 254, 102 S. Ct. 252, 70 L.Ed.2d 419 (1981)). The

treatise on Federal Procedure expounds further:

               The lack of any right to a jury trial in the foreign forum does not render the
               alternative forum an inadequate one. Delays in an alternative forum's
               judicial system are not sufficiently harmful of due process to prevent
               dismissal on forum non conveniens grounds. Differences in the available
               relief also make no difference. Thus, the prospect of a lesser recovery
               does not justify refusing to dismiss an action on the ground of forum non
               conveniens, provided that the essential subject matter of the dispute can
               be adequately addressed by the foreign court. Even where relief is not as
               comprehensive or as favorable as a plaintiff might obtain in an American
               court, the alternative forum may still be adequate.


§ 1:827. 1A Fed. Proc., L. Ed. § 1:827. 13

               Plaintiff is a New Zealand citizen, and the more convenient forum is

New Zealand. New Zealand and the United States have similar judicial systems

(apart from the differing discovery processes noted), as both are based on English

common law. 14 New Zealand has a comprehensive statutory framework similar to the

TVPA and human trafficking has been a crime in New Zealand since the passage of

the Crimes Act of 1961. Crimes Act, 1961 § 98D (NZ). In 2002, New Zealand ratified

the United Nations Protocol to Prevent, Suppress and Punish Trafficking in Persons,

especially Women and Children (“Palermo Protocol”)—three years before the U.S.

ratified the Palermo Protocol. Finally, civil actions are available through the New

Zealand Disputes Tribunal and have been awarded to victims of trafficking.



13 Inst. Mex., 29 F.4th 351; Lockman Found. v. Evangelical All. Mission, 930 F.2d 764 (9th Cir. 2022);

Broad. Rights Int’l Corp. v. Societe du Tour de France, S.A.R.L., 708 F. Supp. 83 (S.D.N.Y. 1989); de
Melo v. Lederle Labs., Div. of Am. Cyanamid Corp., 801 F.2d 1058 (8th Cir. 1986).

14 Devin M. Smith, Thin Shields Pierce Easily: A Case for Fortifying the Journalists’ Privilege in New

Zealand, 18 Pac. Rim L. & Pol’y J. 217, 232 (2009).


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Coppedge, Susan. People Trafficking: An International Crisis Fought at the Local

Level (Fulbright July 2006) 15.

   D. Plaintiff consented to resolve all disputes in New Zealand under New Zealand
      Law.

               Plaintiff herself agreed to resolve all disputes arising out of her

independent contractor agreement in New Zealand, under New Zealand law. She

alleges that she and Gaiman entered into an employment agreement. Compl. ¶ 242.

But the document she signed says otherwise. She was an independent contractor.

Gaiman Decl. ¶ 12, Ex. C at 1, 3. That independent contractor agreement (the

“Agreement”) contains a number of terms, including confidentiality, Id. at 4, a dispute

resolution provision, Id. at 6, and a choice of law provision. Id. at 7. The Agreement’s

choice of law provision states:




Id. at 7.

               When a district court exercises diversity jurisdiction, it must apply the

choice-of-law principles of the state in which it sits. Tanner v. Jupiter Realty Corp.,

433 F.3d 913, 915 (7th Cir. 2006). Under Wisconsin’s choice-of-law principles, a

contractual choice-of-law provision will be enforced so long as enforcement does not

contravene “‘important public policies of the state whose law would be applicable if



15 https://www.nzpc.org.nz/pdfs/Coppedge,-S-(2006,-People-trafficking-An-International-Crisis-

Fought-at-the-Local-Level.pdf

                                                19
the parties' choice of law provision were disregarded.’” Drinkwater v. Am. Family

Mut. Ins. Co., 290 Wis. 2d 642, 652, 714 N.W.2d 568 (2006) (quoting Bush v. Nat’l

Sch. Studios, Inc., 139 Wis. 2d 635, 407 N.W.2d 883 (1987)). But before a court can

determine whether enforcing the choice-of-law clause would contravene important

public policies of the state whose law would otherwise apply, the court must perform

a choice-of-law analysis and identify the otherwise-applicable law. Id. at 654.

             In Wisconsin, “the law of the forum should presumptively apply unless

it becomes clear that nonforum contacts are of the greater significance.” Id. at 658

(quoting State Farm Mut. Auto. Ins. Co. v. Gillette, 251 Wis. 2d 561, 641 N.W.2d 662

(2002)). Wisconsin courts select the law of the state “with which the contract has its

most significant relationship.” Gillette, 251 Wis. 2d at 577. Wisconsin courts consider

(1) the place of contracting; (2) the place of negotiation of the contract; (3) the place

of performance; (4) the location of the subject matter of the contract; and (5) the

respective domiciles, places of incorporation and places of business of the parties.”

Sybron Transition Corp. v. Sec. Ins. Co. of Hartford, 107 F.3d 1250, 1255 (7th

Cir.1997). This analysis is qualitative, not quantitative. Id. Here, every factor shows

that New Zealand law is the proper choice of law. The place of contracting was in New

Zealand, the negotiations took place in New Zealand, the Agreement was performed

in New Zealand, the Agreement was for the performance of childcare duties, which

were to take place in New Zealand, and at the time of contracting and of the execution

of the Agreement, both parties were residing in New Zealand. Gaiman Decl. ¶ 11.

Under Wisconsin choice of law analysis, New Zealand law applies to the Agreement.



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Wisconsin is a forum non conveniens. This Court should respect the parties’ intention

to submit to the exclusive jurisdiction of New Zealand.

   E. Public interest factors.

               The relevant public policy issues weigh heavily in favor of a New

Zealand venue. The majority of the Plaintiff’s claims arise through common law torts

such as assault, battery, negligence, and intentional infliction of emotional distress.

Compl. ¶¶ 313-64. These common law tort claims allege conduct occurring entirely

within New Zealand and are brought here only through supplemental jurisdiction.

Id. ¶ 7. New Zealand has statutes analogous to the TVPA which address Plaintiff’s

statutory claims. See, e.g., Crimes Act, 1961 § 98D (NZ). Because New Zealand has

enacted remedies to protect its residents from the same or analogous claims as those

the Plaintiff seeks in the United States, it has a strong interest in adjudicating these

allegations.

               New Zealand’s interest in providing protection and precedent within its

own borders and legal system for conduct to which its laws apply that wholly occurred

within its jurisdiction is paramount. This same comparison was drawn in Capital

Markets International, Ltd. v. Geldermann, 182 F.3d 921 (7th Cir. 1999). The

Geldermann court was faced with a case in which Illinois citizens were alleged to

have defrauded British citizens in the United Kingdom. The court held that while

“Illinois has a strong incentive to punish its citizens for . . . legal wrongs committed

abroad, it was within the court’s discretion to conclude that the U.K.’s stronger

interest in protecting its citizens from the legal wrongs committed in England by

foreign citizens makes England the more appropriate forum.” Id.
                                          21
             Here, this Court should find that New Zealand’s interests greatly

outweigh those of the United States as the venue for this lawsuit. New Zealand has

taken very similar steps to the United States in combatting human trafficking. This

Court should not deny New Zealand the ability to establish its own precedent

concerning claims and issues it regards as important and justiciable.

             The factors at play on this forum non conveniens dismissal motion are

neatly summarized in the Federal Civil Rules Handbook treatise (Federal Civil Rules

Handbook (Reuters, 2025) § 2.17a, pp. 130 – 132), all of which favor dismissal of this

Complaint, as follows:

             Public Interest Factors

                •   Local Disputes. Courts should “avoid imposing distant disputes on
                    a local court.” Considerations here are that the parties have
                    minimal (Gaiman’s vacation home) to no connections with the
                    Western District of Wisconsin (i.e., Plaintiff is a New Zealand
                    resident, Gaiman primarily resides out of state; and all alleged
                    activity occurred in New Zealand where the events and alleged
                    injury occurred).

                •   Application of Foreign Law. For all the supplemental jurisdiction
                    claims, foreign law needs to be interpreted and followed.

                •   Burdening Jurors with Cases of No Local Interest. Local jurors
                    should not have to carry the burden of trying a case unrelated to
                    their community. Clearly, New Zealand citizens would have
                    greater interest in the outcome.

                •   Public Policy. There is no U.S. public policy at issue in this suit.

                •   Pending Litigation in Another Forum. Plaintiff has filed several
                    other federal lawsuits on the same claims; complained to
                    authorities in New Zealand who declined to bring criminal charges;
                    and it is clear she is forum shopping; and agreed to bring any
                    disputes under her independent contractor agreement in New
                    Zealand courts under New Zealand law.

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              Private Interest Factors

                 •   Ease of Access to Evidence. Clearly and obviously the evidence is
                     most easily accessed, if at all, in New Zealand.

                 •   Cost of Witnesses To Attend Trial. Even if witnesses are willing to
                     testify, they would have to travel over 8000 miles to attend this
                     trial and spend a very large amount of time in the United States.
                     If the counter is that depositions could be taken (and there is
                     indication that is not available in New Zealand), the cost and
                     expense of going there and taking trial depositions would be
                     enormous.

                 •   The Availability of Compulsory Process. There is no compulsory
                     process available to bring a New Zealand witness to the United
                     States to testify.

                 •   Factors To Shorten, or Make Trial Less Expensive. Clearly that
                     favors New Zealand, as the Plaintiff is a New Zealand citizen and
                     Gaiman is a permanent resident there.

                 •   Impact on Ability To Try/Defend Case. Bringing this foreign
                     dispute to trial in the Western District of Wisconsin for the reasons
                     stated, greatly prejudices Gaiman’s ability to defend.

              The Complaint must be dismissed on forum non conveniens grounds.

II.   PLAINTIFF’S STATUTORY CLAIMS MUST BE DISMISSED BECAUSE THE
      COMPLAINT FAILS TO STATE A CLAIM UNDER WHICH RELIEF CAN BE
      GRANTED.

              Plaintiff uses the TVPA as a mechanism to bring several claims, mostly

  common law torts, in this Court rather than in New Zealand where the alleged

  wrongdoing supposedly occurred. The Complaint alleges four claims under the TVPA,

  18 U.S.C. §§ 1589, 1590(a), 1591, and 1594, which she purports to bring under this

  Court’s subject matter jurisdiction and five common law tort claims under

  supplemental jurisdiction. The TVPA claims, while based on a criminal statute, are

  referenced in both a civil remedies provision, § 1595, and an extraterritorial

                                           23
jurisdiction provision, § 1596. Because the extraterritorial provision applies only to

the substantive criminal provisions and not the civil remedies provision, this Court

must apply the presumption against extraterritoriality and dismiss the TVPA claims

under Rule 12(b)(6).

   A. Legal standard—presumption against extraterritoriality

             The proper way to raise an extraterritorial defense is to bring a motion

to dismiss for failure to state a claim under Rule 12(b)(6), rather than a subject-

matter jurisdiction challenge under 12(b)(1). Morrison v. Nat’l Aus. Bank Ltd., 561

U.S. 247, 254, 130 S. Ct. 2869, 2877, 177 L. Ed. 2d 535 (2010) (holding that Rule

12(b)(6) was appropriate because the extraterritorial reach of a statute is a question

of what the statute prohibits, not a court’s power to hear a case). “The recognized

standard for reviewing the grant of a motion to dismiss for failure to state a claim is

whether it appears beyond doubt that the plaintiff can prove no set of facts in support

of his claim which would entitle him to relief.” Mescall v. Burrus, 603 F.2d 1266, 1269

(7th Cir. 1979) (internal quotations omitted).

             The presumption against extraterritoriality is a long-standing cannon

of statutory interpretation which must be applied to §§ 1595 and 1596 of the TVPA.

See RJR Nabisco v. Eur. Cmty., 579 U.S. 325, 336, 136 S. Ct. 2090, 195 L. Ed. 2d 476

(2016) (Courts “apply the presumption across the board, regardless of whether there

is a risk of conflict between the American statute and foreign law.”) (internal

quotations omitted). The reasons behind the presumption against extraterritoriality

include “avoiding international discord that can result when U.S. law is applied to



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conduct in foreign countries” and the “commonsense notion that Congress generally

legislates with domestic concerns in mind.” Id. at 336.

             The Supreme Court established a two-step framework for analyzing

extraterritorial issues. Id. At step one, the question is “whether the presumption

against extraterritoriality has been rebutted—that is, whether the statute gives a

clear, affirmative indication that it applies extraterritorially.” Id. at 337. If the

presumption has not been rebutted, then the second step is invoked. In the second

step, a court must determine “whether the case involves a domestic application of the

statute.” Id. This is done by “looking at the statute’s focus” and determining whether

“the conduct relevant to the statute’s focus occurred in the United States.” Id. If so,

“then the case involves a permissible domestic application even if other conduct

occurred abroad; but if the conduct relevant to the focus occurred in a foreign country,

then the case involves an impermissible extraterritorial application.” Id.

   B. The TVPA’s language has resulted in conflicting decisions among federal
      district courts.

             The TVPA was first enacted in 2000. Victims of Trafficking and Violence

Protection Act of 2000, Pub. L. No. 106-386, 114 Stat. 1464 (2000). In 2003, the first

amendment to the TVPA added § 1595 which provided a civil remedy for any victim

of an offense under Chapter 77. Section 1595 was amended several other times, lastly

in 2023. In 2008, § 1596 was added which permits extra-territorial jurisdiction for

specific offenses within the TVPA. The civil remedies section was not included in

§ 1596’s list of specific offenses. The current iteration of the civil remedy statute

contains no mention of extraterritoriality:


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             (a) An individual who is a victim of a violation of this chapter may bring a
                 civil action against the perpetrator (or whoever knowingly benefits, or
                 attempts or conspires to benefit, financially or by receiving anything of
                 value from participation in a venture which that person knew or should
                 have known has engaged in an act in violation of this chapter) in an
                 appropriate district court of the United States and may recover
                 damages and reasonable attorneys fees.


18 U.S.C. § 1595. The TVPA’s extraterritoriality statute specifically lists the statutes

to which it should be applied, notably omitting the civil remedy provision:

             (a) In General.—In addition to any domestic or extra-territorial jurisdiction
             otherwise provided by law, the courts of the United States have extra-
             territorial jurisdiction over any offense (or any attempt or conspiracy to
             commit an offense) under section 1581, 1583, 1584, 1589, 1590,
             or 1591 if—
             (1) an alleged offender is a national of the United States or an alien lawfully
             admitted for permanent residence (as those terms are defined in section
             101 of the Immigration and Nationality Act (8 U.S.C. 1101)); or
             (2) an alleged offender is present in the United States, irrespective of the
             nationality of the alleged offender.


Id. § 1596 (emphasis added)

             The question of whether the TVPA’s extra-territorial jurisdiction

extends to civil suits under § 1595 has been decided by few courts and has resulted

in conflicting decisions. The most illustrative precedent to date comes from two

separate cases brought in the D.C. District Court which resulted in conflicting

holdings. See Doe I v. Apple Inc., No. 19-CV-03737 (CJN), 2021 WL 5774224, at *14

(D.D.C. Nov. 2, 2021), aff’d sub nom. Doe 1 v. Apple Inc., 96 F.4th 403 (D.C. Cir. 2024)

(holding that Congress did not authorize extra-territorial jurisdiction for civil

remedies under § 1595); but see United States ex rel. Hawkins v. ManTech Int’l Corp.,

No. CV 15-2105 (ABJ), 2024 WL 4332117, at *13 (D.D.C. Sept. 27, 2024) (holding that

§ 1595 can apply extra-territorially).




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              In Doe I, the court held that § 1595—Civil remedy, does not apply

extraterritorially. Doe I, 2021 WL 5774224 at *14. The court first established the

long-standing presumption against extraterritoriality: “courts ‘presume that a

statute applies only domestically.’” Id. (citing Nestlé USA, Inc. v. Doe, 693 U.S. 628,

632, 141 S. Ct. 1931, 210 L. Ed 2d 207 (2021)). “This presumption can be rebutted

only if the statute ‘gives a clear, affirmative indication’ that it covers foreign conduct.”

Id. (quoting RJR Nabisco, 579 U.S. at 337). “When a statute gives no clear indication

of an extraterritorial application, it has none.” Id. (citing Morrison, 561 U.S. at 255).

              After establishing that the long-standing presumption against extra-

territoriality can only be rebutted by a clear affirmative indication, the Doe I court

turned to the language of the statutes at issue: Sections 1595 and 1596. “On its face,

[§ 1595] says nothing about extraterritorial application. Thus, standing alone, it does

nothing to rebut the presumption that it applies only domestically.” Id. The

extraterritoriality statute, § 1596, the court reasoned, only contained language that

applied to criminal statutes, not the civil remedy. Id. at *15.

              The Doe I court first addressed the fact that § 1596 explicitly grants

extraterritorial jurisdiction to many criminal statutes, but did not include the civil

remedy statute in that comprehensive list. Id. “Congress could have easily included

§ 1595 in § 1596, but it did not.” Id. The court noted that “in the very same Act,

Congress amended the text of § 1595 itself.” Id. Second, the Doe I court reasoned that

“the text and structure of § 1596 suggest that it was focused on criminal, not civil,

applications.” Id. For example, the “title of § 1596 is ‘Additional jurisdiction in certain



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trafficking offenses.’” Id. (quoting 18 U.S.C. § 1596) (emphasis added). The court then

observed that the word “offense” is only used to refer to crimes in Title 18, not civil

actions. Id. The Supreme Court also concluded that in Title 18, the term “offense”

refers to criminal violations: “Although the term appears hundreds of times in Title

18, neither respondent nor the Solicitor General, appearing as an amicus in support

of respondent, has been able to find a single provision of that title in which ‘offense’

is employed to denote a civil violation.” Kellogg Brown & Root Servs., Inc. v. United

States ex rel. Carter, 575 U.S. 650, 659, 135 S. Ct. 1970, 191 L. Ed. 2d 899 (2015). The

Doe I court concluded that Congress’s omission of § 1595 in the enumerated list of

statutes affected by § 1596 “was an intentional decision not to extend

extraterritorially the reach of the statute’s civil component.” 16 2021 WL 5774224 at

*16.

                In contrast, the Hawkins court found that § 1595 has extraterritorial

reach. 2024 WL 4332117 at *13. The court’s reasoning, however, isn’t compelling and

does not establish a clear intention of Congress to overcome the presumption against

extraterritorial jurisdiction. The Hawkins court justified its holding by reasoning: (1)

that other provisions in the TVPA had an extra-territorial reach prior to the 2008

amendment; (2) that § 1595 is not an “offense,” but a free-standing provision that

creates a remedy for an offense; and (3) the predicate offenses have an extraterritorial




16 The Doe I court explained that it “is not for this Court to question that decision; especially as grants

of extraterritorial jurisdiction are fraught with international-relations considerations, ones far outside
the judicial role.” Id.

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reach. Id. at *11. All of those arguments fail to overcome the presumption against

extraterritoriality.

              The Hawkins court asserted that because some specific provisions

within the TVPA granted extraterritorial jurisdiction before the 2008 amendment

that added § 1596, “it would be inappropriate to predicate a narrowing construction

of the civil provision on a later, unrelated amendment to the statute.” Id. This

assertion is flawed because § 1596 is an expansion of the extraterritorial reach of the

TVPA, not a narrowing. The Hawkins court likely misinterpreted this reasoning.

Doe I did not state that § 1596 rescinded extraterritoriality for previously existing

statutes, but rather that it extended extraterritoriality, limited to the enumerated

statutes. Because the civil remedies statute, § 1595, did not contain a grant of

extraterritoriality, the fact that it was not listed in § 1596 meant that this extension

did not apply to civil remedies.

              The Hawkins court’s second rationale—the fact that § 1595 “is a free-

standing provision that creates a civil remedy,” id., means that its omission in § 1596

does not preclude extra-territorial jurisdiction—is directly contradicted by long-

standing Supreme Court precedent. The first step for analyzing extraterritoriality

issues is “whether the presumption against extraterritoriality has been rebutted—

that is, whether the statute gives a clear, affirmative indication that it applies

extraterritorially. We must ask this question regardless of whether the statute in

question regulates conduct, affords relief, or merely confers jurisdiction.” RJR

Nabisco, 579 U.S. at 337 (emphasis added). Because statutes that afford relief, as



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§ 1595 does, must be evaluated independently, it is entirely relevant that it is omitted

from the statute granting extraterritorial jurisdiction.

   C. The Fourth Circuit erred in its analysis of Supreme Court precedent – instead
      the Supreme Court’s decision in RJR Nabisco compels that this Court apply
      the presumption against extraterritoriality and dismiss the Complaint.

             The Hawkins court leaned heavily on the only appellate case to date that

has rendered a decision on whether § 1596 applies to § 1595—Roe v. Howard, 917

F.3d 229, 244 (4th Cir. 2019). The Roe court found that § 1595 has extraterritorial

reach through § 1596, but its holding was entirely based on a misapplication of the

Supreme Court’s precedent in RJR Nabisco. The Roe case was not about conduct

within a foreign jurisdiction. In Roe, the plaintiff sued a State Department employee

over conduct that occurred entirely on the grounds of the U.S. embassy in Sana’a,

Yemen. The court established that special maritime and territorial jurisdiction of the

United States encompasses the grounds of U.S. diplomatic installations—a stark

contrast with the present case which alleges conduct solely within the jurisdiction of

a foreign nation.

             The error the Roe court makes, however, is in its interpretation of the

Supreme Court’s holding in RJR Nabisco. In RJR Nabisco, the Court was faced with

two issues: (1) whether substantive provisions of the Racketeer Influenced and

Corrupt Organizations Act (“RICO”) contained in § 1962 apply to conduct that occurs

in foreign countries; and (2) whether RICO’s private right of action contained in

§ 1694(c) applies to injuries that are suffered in foreign countries. RJR Nabisco, 579

U.S. at 325. The Roe court erred in applying the substantive RICO analysis to the



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TVPA’s civil remedy statute. It should have applied the analysis the RJR Nabisco

Court used to analyze RICO’s civil remedy. Because it did not, it is wrongly decided.

               In RJR Nabisco, the Court held that the substantive definitions of

racketeering activity within § 1962 were sufficiently predicated on statutes that

expressly apply extraterritorially. Id. at 345. On the other hand, the Court held that

§ 1964(c), which provides a civil remedy for “violations of section 1962,” does not allow

recovery for foreign injuries.” Id. at 353. The different treatment of the civil remedies

provision is partly based on the Court’s acknowledgment that “providing a private

civil remedy for foreign conduct creates a potential for international friction beyond

that presented by merely applying U.S. substantive law to that foreign conduct.” 17

Id. at 346-47. The Court concluded that “there is a potential for international

controversy that militates against recognizing foreign-injury claims without clear

direction from Congress.” Id. at 348 (emphasis added).

               Having differentiated between the substantive RICO statute and the

civil remedies provision, the Court goes on to find that “nothing in § 1964(c) provides

a clear indication that Congress intended to create a private right of action for injuries

suffered outside the United States.” Id. at 350. Even though § 1964(c) states that any

“person injured in his business or property by reason of a violation of section 1962 of

this chapter may sue . . . in any appropriate United States district court,” it did not

provide a clear indication that Congress intended to create a private right of action


17 The Roe Court also cites prior cases in which foreign countries advised the Court that applying U.S.

“remedies would unjustifiably permit their citizens to bypass their own less generous remedial
schemes, thereby upsetting a balance of competing considerations that their own domestic . . . laws
embody.” Id. at 347 (internal quotations omitted).

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for injuries suffered outside the United States. The Court reached this conclusion

despite that it held § 1962 had extraterritorial reach in the same opinion. Id. at 345.

The Court reasoned that the concept of a foreign injury is distinct from the concept of

violating a criminal statute. The same distinction must be made in the present case.

As the Court said in RJR Nabisco: “It is not enough to say that a private right of

action must reach abroad because the underlying law governs conduct in foreign

countries.” Id. at 350.

             The civil remedies statute in the present case reads nearly the same as

the civil remedy statute confronted by the RJR Nabisco Court. TVPA § 1595 states:

             (a) An individual who is a victim of a violation of this chapter may bring a
             civil action against the perpetrator (or whoever knowingly benefits, or
             attempts or conspires to benefit, financially or by receiving anything of
             value from participation in a venture which that person knew or should
             have known has engaged in an act in violation of this chapter) in an
             appropriate district court of the United States and may recover damages
             and reasonable attorneys fees.


18 U.S.C. § 1595. RICO’s § 1964(c) states:

             (c) Any person injured in his business or property by reason of a violation
             of section 1962 of this chapter may sue therefor in any appropriate United
             States district court and shall recover threefold the damages he sustains
             and the cost of the suit, including a reasonable attorney's fee, except that
             no person may rely upon any conduct that would have been actionable as
             fraud in the purchase or sale of securities to establish a violation of section
             1962.


Id. § 1964. Importantly, both statutes address violations of substantive laws. The

TVPA civil remedy statute addresses all violations within the chapter, some of which

either grant extraterritorial jurisdiction through provisions within the statute or by

reference from § 1596. RICO’s civil remedies statute addresses § 1962, which itself

references statutes granting extraterritorial jurisdiction.


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                RJR Nabisco differentiated between the criminal statute applying

   extraterritorially and the civil remedy applying extraterritorially because the civil

   remedy invokes an injury rather than just the violation of the underlying crime. RJR

   Nabisco, 579 U.S. at 328. This same reasoning must be applied here, as the Plaintiff’s

   claims are not just based on foreign conduct but based on foreign injuries as well.

                Although § 1595 does not explicitly mention injuries, it does state that

   a plaintiff “may recover damages.” The term “damages” necessitates an injury. See

   DAMAGES, Black’s Law Dictionary (12th ed. 2024) (“damages n. pl. (16c) Money

   claimed by, or ordered to be paid to, a person as compensation for loss or injury”). A

   civil remedy where the relief is “damages” requires an injury. Because § 1595 requires

   an injury, this Court must reject the holding in Roe and follow the RJR Nabisco

   precedent and hold that the presumption against extraterritoriality has not been

   rebutted.

                The second step in this analysis is whether the case involves a domestic

   application of the statute. This question can be answered succinctly. It does not. The

   Complaint only alleges foreign conduct and foreign injuries. See Compl. ¶¶ 7, 258-

   312, 313-64. Under no interpretation of the Complaint, no matter how favorable to

   the Plaintiff, can it be found to involve a domestic application of the TVPA. As such,

   the statutory claims must be dismissed under Rule 12(b)(6) for failure to state a claim.

III.   THE DOCTRINE OF PRUDENTIAL EXHAUSTION REQUIRES PLAINTIFF TO
       EXHAUST REMEDIES AVAILABLE IN NEW ZEALAND.

                If this Court does not dismiss this case based on forum non conveniens,

   or the presumption against extraterritoriality, it must require the Plaintiff to exhaust


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her local remedies prior to suing in the United States. The Seventh Circuit has

adopted the prudential exhaustion doctrine for transnational litigation, which would

require the Plaintiff to exhaust all remedies in New Zealand prior to bringing her

claims anywhere in the United States.

                Prudential exhaustion, also referred to as the “local remedies rule,”

originated in the context of international law. “Under international law, ordinarily a

state is not required to consider a claim by another state for an injury to its national

interest until that person has exhausted domestic remedies.” Restatement (Third) of

the Foreign Relations Law of the United States § 713 cmt. f (Am. L. Inst. 1987). The

rule evolved to prevent suits by foreign plaintiffs concerning foreign conduct brought

in U.S. courts. In Sosa v. Alvarez-Machain, 542 U.S. 692, 124 S. Ct. 2739, 159 L. Ed.

2d 718 (2004), Justice Souter stated that the Court “would certainly consider . . . in

an appropriate case” requiring that “the claimant [exhaust] any remedies available

in the domestic legal system.” 18 Id. at 733 n.21.

                The Ninth Circuit first recognized the prudential exhaustion rule in the

context of the Alien Tort Statute (“ATS”). Sarei v. Rio Tinto, PLC, 550 F.3d 822 (9th

Cir. 2008) (plurality). In explaining her rationale of applying a rule in used

international tribunals domestically, Judge McKeown wrote:




18 Sosa’s opinion was not based on the prudential exhaustion rule, but rather that the Alien Tort

Statute did not grant a cause of action.

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                Though it is self-evident, it is worth remembering that in ATS adjudication,
                the United States courts are not international tribunals. With this in mind,
                the appropriateness of applying prudential exhaustion to some ATS cases
                only gains force; if exhaustion is considered essential to the smooth
                operation of international tribunals whose jurisdiction is established only
                through explicit consent from other sovereigns, then it is all the more
                significant in the absence of such explicit consent to jurisdiction.


Id. at 830.

                Although Judge McKeown’s rationale remained limited to the Ninth

Circuit for ATS cases—likely because the ATS’s extraterritoriality was restrained via

other doctrines 19—it found footing in other transnational litigation.

                Most relevant to this litigation is the Seventh Circuit’s adoption of the

prudential exhaustion rule in Abelesz v. Magyar Nemzeti Bank, 692 F.3d 661, 679

(7th Cir. 2012), aff’d sub nom. Fischer v. Magyar Allamvasutak Zrt., 777 F.3d 847

(7th Cir. 2015). In both Abelesz and Fischer, plaintiffs were Hungarian citizens and

Holocaust survivors. Fischer, 777 F.3d at 852; Abelesz, 692 F.3d at 665. The suits

were brought under the Foreign Sovereign Immunities Act (“FISA”) against the

Hungarian national bank and national railway for taking the property of Hungarian

Holocaust victims. Fischer, 777 F.3d at 857.

                The Abelesz court noted that FISA contained no statutory language

suggesting “that plaintiffs must exhaust domestic Hungarian remedies before

bringing suit in the United States.” Abelesz, 692 F.3d at 678. Despite this lack of

statutory language, the court dismissed the cases based on a failure to exhaust

domestic remedies. The court explained that the prudential exhaustion “rule is based


19 See Beal, Sara Sun. The Trafficking Victim Protection Act: The Best Hope for International Human

Rights Litigation in the U.S. Courts, 50 Case W. Res. J. Int’l L. 17, 2 (2018) (In “the past two decades
the [ATS’s] reach has been substantially narrowed by judicial decisions.”).

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on the idea that the state where the alleged violation occurred should have an

opportunity to redress it by its own means, within the framework of its own legal

system.” Id. at 680 (citing Interhandel (Switz v. United States), Preliminary

Objections, 1959 I.C.J. 6, 26–27 (Mar. 21). 20 Only if there “is a legally compelling

reason for plaintiff’s failure to exhaust” domestic remedies, will the “domestic

exhaustion rule not bar their claims.” Abelesz, 692 F.3d at 682.

               Abelesz and Fischer applies equally to the TVPA. The Seventh Circuit

did not base its decision on the language of the underlying statute. Instead, the court

based its decision on a much broader principle that also applies to the present case:

“We found that the comity at the heart of international law required plaintiffs either

to exhaust domestic remedies in Hungary or to show a powerful reason to excuse the

requirement.” Fischer, 777 F.3d at 858. Because the Seventh Circuit based its

decision on a broad comity principle rather than on statutory interpretation, its

precedent must be upheld the same as in the Fischer and Abelesz cases.

               In the present case, the Plaintiff has not even pleaded—let alone

demonstrated—that she pursued and exhausted domestic remedies in New Zealand,

nor has she offered any reason or explanation for why she has not done so. Because

the alleged conduct occurred entirely within the jurisdiction of New Zealand, and

because New Zealand has a well-functioning legal system with available remedies for




20 In Interhandle, the Swiss court upheld the objection of the United States that the court had no

jurisdiction to hear the matter because plaintiff had not exhausted the local remedies available to it
in U.S. courts.


                                                 36
  all of the Plaintiff’s claims, 21 (and in this case the Plaintiff is a New Zealand citizen

  and Gaiman is a New Zealand permanent resident) this Court should decline

  jurisdiction until after Plaintiff has exhausted her pursuit of remedies under New

  Zealand law.

IV.   INTERNATIONAL COMITY STRONGLY MILITATES FOR ABSTENTION

                 While     forum     non conveniens,        prudential     exhaustion,      and    the

  presumption against extraterritoriality arise from principles of comity, international

  comity is a broader concept that incorporates considerations outside the scope of these

  more narrowly tailored comity-based doctrines. 22 International comity permits this

  Court discretion to dismiss this case based on the comity principle of restraint.

                 International comity can best be defined as “deference to foreign

  government actors that is not required by international law but is incorporated in

  domestic law.” Dodge, International Comity in American Law, 115 Colum. L. Rev. at

  2078. As a broad doctrine, comity can come in many forms: deference to foreign

  lawmakers, deference to foreign tribunals, and deference to foreign governments as

  litigants. Id. Relevant to this case is the international comity principle of restraint

  “as a means of restraining the reach of American law, [and] the jurisdiction of

  American courts.” Id. Justice Scalia used the phrase “prescriptive comity” to refer to

  “the respect sovereign nations afford each other by limiting the reach of their laws.”




  21 Supra p. 19-23


  22 See William S. Dodge, International Comity in American Law, 115 Colum. L. Rev. 2071, 2071 (2015)

  (“The doctrines of American law that mediate the relationship between the U.S. legal system and those
  of other nations are nearly all manifestations of international comity.”).

                                                   37
 Hartford Fire Ins. Co. v. California, 509 U.S. 764, 817, 113 S. Ct. 2891, 125 L. Ed. 2d

 612 (1993) (Scalia, J., dissenting).

              Justice Holmes’s early explanation of why a court must sometimes

 abstain on international comity grounds is a rationale relevant to the present case: A

 nation treating a defendant “according to its own notions rather than those of the

 place where he did the acts, not only would be unjust, but would be an interference

 with the authority of another sovereign, contrary to the comity of nations, which the

 other state concerned justly might resent.” Am. Banana Co. v. United Fruit Co., 213

 U.S. 347, 356, 29 S. Ct. 511, 512, 53 L. Ed. 826 (1909). Based on this long-standing

 principle, courts must exercise caution when adjudicating acts committed within the

 jurisdiction of a foreign nation. This court must do so here. The principle of

 international comity is another reason for this Court to dismiss this Complaint so

 that she can bring her claims in the proper forum -- New Zealand.

V.   THE COMMON LAW CLAIMS BROUGHT UNDER § 1367, SUPPLEMENTAL
     JURISDICTION, MUST ALSO BE DISMISSED.

              Plaintiff brought claims against Gaiman for assault, battery, intentional

 infliction of emotional distress, and negligent infliction of emotional distress. These

 claims are common law claims invoking the supplemental jurisdiction of this Court.

 28 U.S.C. § 1367; Compl. ¶¶ 7, 313-64. If this Court dismisses the underlying

 statutory claims for any reason, the supplemental claims must be dismissed under

 § 1367(c)(3) (“The district courts may decline to exercise supplemental jurisdiction

 over a claim under subsection (a) if . . . the district court has dismissed all claims over

 which it has original jurisdiction.”). “The general rule is that when as here the federal


                                             38
claim drops out before trial . . . the federal district court should relinquish jurisdiction

over the supplemental claim.” Van Harken v. City of Chi., 103 F.3d 1346, 1354 (7th

Cir. 1997); see also Groce v. Eli Lilly & Co., 193 F.3d 496, 501 (7th Cir. 1999) (It “is

the well-established law of this circuit that the usual practice is to dismiss without

prejudice . . . supplemental claims whenever all federal claims have been dismissed

prior to trial.”). This presumption in favor of dismissing the supplemental claims

when the federal claim is dismissed before trial is especially strong in cases where

there has been little or no discovery. Van Harken at 1354. Although this presumption

is rebuttable, the fact that the supplemental claims in this case arise from the

common law of a foreign nation, the presumption cannot be rebutted. New Zealand

tort claims should be heard in New Zealand.

                                      CONCLUSION

              Defendant Neil Gaiman respectfully demands that the Court dismiss

the Complaint against him on the merits and with prejudice, award him attorney’s

fees and expenses incurred in defending this action and grant him such other and

further relief as the Court deems just and proper.

                                          KRAVIT, HOVEL & KRAWCZYK S.C.


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